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                                     Declaration of T.K.
                                (Pursuant to 28 U.S.C. § 1746)

      I, T.K., hereby declare and state as follows:

   1. I am over the age of 18 and a resident of St. Charles County, Missouri. I have personal

      knowledge of the facts set forth in this declaration and could and would testify

      competently to those facts if called as a witness.

   2. I am currently the parent of a student in the Wentzville R-IV School District (the

      “District”).

   3. I am a member of the Missouri State Conference of the National Association for the

      Advancement of Colored People and the St. Charles County Missouri Unit of the

      National Association for the Advancement of Colored People.

   4. I would like for my child to have access all of the following books, which were

      previously available at school libraries prior to being banned by the District: The Bluest

      Eye, by Toni Morrison; Fun Home: A Family Tragicomic Paperback, by Alison Bechdel;

      All Boys Aren’t Blue, by George M. Johnson; Heavy: An American Memoir, by Kiese

      Laymon; Lawn Boy, by Jonathan Evison; Gabi, A Girl in Pieces, by Isabel Quintero;

      Modern Romance, by Aziz Ansari; and Invisible Girl, by Lisa Jewell (the “Banned

      Books”).

   5. My child was a student in the District when the Banned Books were removed from

      library access.

   6. I intend for my child to continue to attend District schools through high school

      graduation.

   7. My child frequently uses their school library and its resources.




                                                                               Exhibit 38
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   8. It is important to me that my child and their peers can learn about different perspectives

       at school, including hearing from diverse voices on challenging issues like race, gender,

       and sexuality.

   9. I believe that removal of the Banned Books and other books from school libraries will

       prevent my child from learning about a variety of experiences and viewpoints.

   10. I am concerned that my child will be stigmatized by others in the District and community

       if they engage with the kinds of ideas and subject matter that are present in the Banned

       Books because of the District and some community members’ positions that the content

       and viewpoints in the Banned Books should not be read or engaged with by my child and

       other students.


I declare under penalty of perjury that the foregoing is true and correct.

Executed on March 10, 2022.                   /s/ T.K.________________________
                                              T.K.
                                              St. Charles County, Missouri




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                                                                               Exhibit 38
